EXHIBIT 4
                                                                               Invoice Number: 2023-4.4
DATE:            5/9/2023

TO:              Broadway South City Hospital


FROM:            Andrea Ferguson
                 2200 Washington Avenue
                 St. Louis, MO 63103
                 Phone: 314-300-4214
                 andrea.ferguson@TwainFinancial.com

RE:              Broadway South City Hospital Ground Lease




   Due Date              Rent Period                        Description                  Amount

   1/1/2023         1/1/2023 - 3/31/2023         Q1.23 Base/Supplemental Rent       $      354,842.07
   1/12/2023        1/1/2023 - 3/31/2023                Q1.23 Late Charge           $       21,290.52
   4/1/2023         1/12/2023 - 3/31/2023       Additional Rent through 4/1/2023    $       11,904.51
   4/7/2023         4/1/2023 - 4/11/2023        Additional Rent through 4/11/2023   $        1,841.84
   4/1/2023         4/1/2023 - 6/30/2023         Q2.23 Base/Supplemental Rent       $      358,784.77
   4/12/2023        4/1/2023 - 6/30/2023                Q2.23 Late Charge           $       44,919.82
   5/9/2023         4/12/2023 - 5/09/2023       Additional Rent through 5/9/2023    $        8,860.90

                                                                Total payment due: $       802,444.42


Wire Payments to:
Bank Name:     U.S. Bank National Association
ABA Number:    091000022
Account Name: Structured Finance Wire Clearing
Account:       173103322058
Reference:     Twain Funding II LLC Collection Acct 273761000


*Add additional rent if no payment is received by:                                            4/12/2023
Late Charge                                                                         $        44,919.82
Per diem additional rent (should be added for each additional day)                  $           328.18
